

People v Pierce (2024 NY Slip Op 05545)





People v Pierce


2024 NY Slip Op 05545


Decided on November 12, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 12, 2024

Before: Manzanet-Daniels, J.P., Pitt-Burke, Rosado, O'Neill Levy, Michael, JJ. 


Ind. No. 2060/17 Appeal No. 2994 Case No. 2019-05568 

[*1]The People of the State of New York, Respondent,
vShakim Pierce, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ashley A. Baxter of counsel), for appellant.



Judgment, Supreme Court, New York County (Edwina Richardson-Mendelson, J., at plea; Gayle P. Roberts, J., at sentencing), rendered June 12, 2019, convicting defendant, upon his plea of guilty, of grand larceny in the fourth degree, and sentencing him to a jail term of 6 months, to be followed by 5 years of probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 12, 2024








